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 3   Telephone: (559) 241-7000
 4   Attorney for JUAN GONZALES
 5
 6                              UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,       )                        NO. 1:05 CR 00240 AWI
10                                   )
                     Plaintiff,      )                        STIPULATION TO CONTINUE
11                                   )                        STATUS CONFERENCE/
                vs.                  )                        CHANGE OF PLEA HEARING
12                                   )                        AND ORDER THEREON
     JUAN GONZALES, et al.,          )
13                                   )                        DATE:              September 17, 2007
                     Defendants.     )                        TIME:              9:00 AM
14   _______________________________ )                        DEPT:              Anthony W. Ishii
15                 IT IS HEREBY STIPULATED by and between the parties hereto through
16   their attorneys of record that the status conference and change of plea hearing presently
17   scheduled before the Hon Anthony W. Ishii for September 17, 2007 at the hour of 9:00
18   AM be continued to October 24, 2007 at 9:00 AM.
19                 The parties agree that the delay resulting from the continuance shall be
20   excluded in the interests of justice, including, but not limited to, the need for the period
21   of time set forth herein for effective defense preparation pursuant to 18 U.S.C.
22   Section 3161 (h)(8)(B)(iv).
23   Dated: September 14, 2007.                        McGREGOR W. SCOTT, United States Attorney
24
                                                       By: /s/ Kathleen Servatius
25                                                     KATHLEEN SERVATIUS, Assistant U.S. Attorney
                                                       Attorney for Plaintiff
26
     Dated: September 14, 2007.
27                                                     /s/ Daniel A. Bacon
                                                       DANIEL A. BACON,
28                                                     Attorney for Defendant JUAN GONZALES

                      Stipulation to Continue Status Conference/Change of Plea and Order Thereon
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 1   Dated: September 14, 2007.
 2
                                                       /s/ Stephen Quade
 3                                                     STEPHEN QUADE
                                                       Attorney for Defendant ANNETTE SALAZAR
 4
 5
 6
                                                     ORDER
 7
                  IT SO ORDERED. Time is excluded in the interests of justice pursuant to
 8
     18 U.S.C. Section 3161 (h)(8)(B)(iv).
 9
10
     IT IS SO ORDERED.
11
     Dated:    September 18, 2007                           /s/ Anthony W. Ishii
12   0m8i78                                           UNITED STATES DISTRICT JUDGE
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                      Stipulation to Continue Status Conference/Change of Plea and Order Thereon   2
